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 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   MICHAEL C. KEO, an individual           Case No.: 8:23-cv-01727
12              Plaintiff,                   COMPLAINT FOR
13        vs.
                                                (1) VIOLATION OF THE UNRUH
14   RED HILL AVENUE, LLC, a limited                CIVIL RIGHTS ACT
     liability company
15                                                  (CALIFORNIA CIVIL CODE
                Defendants.                         §§ 51, 52);
16
                                                (2) VIOLATIONS OF THE
17                                                  AMERICANS WITH
18                                                  DISABILITIES ACT OF 1990

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                                      COMPLAINT
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 1                                               I.
                                              SUMMARY
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 3           1.    This is a civil rights action by plaintiff Michael C. Keo (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located 14092 Red Hill Ave.,
 6   Tustin, CA 92780 Orange County (the “Property”). Plaintiff frequents the area as he
 7   lives approximately 15 minutes from the Property.
 8           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
 9   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
10   12101, et seq.) and related California statutes1 against the owner of the property RED
11   HILL AVENUE, LLC, a limited liability company (“Defendant”).
12                                                   II.
13                                         JURISDICTION
14           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
15   for ADA claims.
16           4.    Supplemental jurisdiction for claims brought under parallel California
17   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
18   1367.
19           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
20                                               III.
21                                              VENUE
22           6.    All actions complained of herein take place within the jurisdiction of the
23   United States District Court, Central District of California, and venue is invoked
24   pursuant to 28 U.S.C. § 1391(b), (c)
25                                               IV.
26                                             PARTIES
27           7.    On information and belief, Plaintiff alleges that Defendant is or was at
28   1
      Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                    1
                                              COMPLAINT
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     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
 2
     consist of a person (or persons), firm, company, and/or corporation.
 3
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
 4
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
 5
     is “physically disabled” as defined by all applicable California and United States laws,
 6
     and a member of the public whose rights are protected by these laws. Plaintiff is a
 7
     resident of Orange County, California. Plaintiff is not considered a high frequency
 8
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
 9
     the twelve months preceding the filing of this complaint, Plaintiff filed nine (9) other
10
     construction accessibility related claims (not including this one).
11
                                                V.
12
                                               FACTS
13
           9.       On August 17, 2023, Plaintiff patronized the Property. The Property is a
14
     business open to the public, which is intended for nonresidential use and whose
15
     operation affects commerce.
16
           10.      Plaintiff visited the Property and encountered barriers (both physical and
17
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
18
     enjoy the goods, services, privileges and accommodations offered at the facility. To
19
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
20
     to the following:
21

22
                 a. There are no accessible parking spaces that are designated for van
23
                    accessible parking. To the extent that such spaces exist, they are not
24
                    properly marked with a van accessible sign. To safely and comfortably
25
                    exit and enter onto his vehicle, Plaintiff needs a van accessible space that
26
                    is of sufficient width and length to accommodate Plaintiff’s accessible
27
                    van. Without a proper sign indicating that a space can and will
28
                    accommodate Plaintiff’s accessible van, Plaintiff does not know whether
                                                     2
                                             COMPLAINT
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 1
                     a space will accommodate his accessible van.
 2
                  b. There is no accessible pathways leading from the parking spaces to an
 3
                     accessible entrance. Specifically, there have been items placed in the
 4
                     walkway which impermissibly narrow the path such that Plaintiff cannot
 5
                     comfortably, safely, and independently navigate the paths.
 6
            11.      These barriers to access are listed without prejudice to Plaintiff citing
 7
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
 8
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 9
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
10
     Property.
11
            12.      Plaintiff thus experienced difficulty and discomfort as a result of the
12
     accessible barriers he encountered. Although he would like to return to the Property
13
     to patronize the convenience store at the Property, he continues to be deterred from
14
     visiting the Property because of the future threats of injury created by these barriers.
15
     Plaintiff often frequents the Property as he lives approximately 10 minutes from the
16
     Property and the convenience store located on the Property is convenient for him.
17
     Plaintiff would return to the Property once the barriers have been corrected to not only
18
     patronize the stores but to ensure that the Property is fully accessible to him.
19
            13.      On information and belief, Plaintiff alleges that Defendant knew that
20
     these elements and areas of the Property were inaccessible, violate state and federal
21
     law, and interfere with (or deny) access to the physically disabled. Moreover,
22
     Defendant has the financial resources to remove these barriers from the Property
23
     (without much difficult or expense), and make the Property accessible to the
24
     physically disabled. To date, however, the Defendant refuses to remove those
25
     barriers.
26
            14.      On information and belief, Plaintiff alleges that at all relevant times,
27
     Defendant has possessed and enjoyed sufficient control and authority to modify the
28
     Property to remove impediments to wheelchair access and to comply with the
                                                    3
                                              COMPLAINT
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 1
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
 2
     Defendant has not removed such impediments and have not modified the Property to
 3
     conform to accessibility standards.
 4
        VI.      FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 5
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 6
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 7
                                        CODE SECTION 51(f)
 8
              15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
 9
     14 for this claim and incorporates them herein.
10
              16.   At all times relevant to this complaint, California Civil Code § 51 has
11
     provided that physically disabled persons are free and equal citizens of the state,
12
     regardless of disability or medical condition:
13
              All persons within the jurisdiction of this state are free and equal, and
14
              no matter what their sex, race, color, religion, ancestry, national
15
              origin, disability, or medical condition are entitled to the full and
16
              equal accommodations, advantages, facilities, privileges, or services
17
              in all business establishments of every kind whatsoever. Cal. Civ.
18
              Code § 51(b).
19
              17.    California Civil Code § 52 provides that the discrimination against
20
     Plaintiff on the basis of his disabilities constitutes a violation of the anti-
21
     discrimination provisions of §§ 51 and 52.
22
              18.   Defendant’s discrimination constitutes a separate and distinct violation of
23
     California Civil Code § 52 which provides that:
24
              Whoever denies, aids or incites a denial, or makes any discrimination
25
              or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
26
              every offense for the actual damages, and any amount that may be
27
              determined by a jury, or a court sitting without a jury, up to a
28
              maximum of three times the amount of actual damage but in no case
                                                    4
                                              COMPLAINT
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 1
             less than four thousand dollars ($4,000) and any attorney’s fees that
 2
             may be determined by the court in addition thereto, suffered by any
 3
             person denied the rights provided in Section 51, 51.5 or 51.6.
 4
             19.   Plaintiff continues to be deterred from visiting the Subject Property based
 5
     upon the existence of the accessible barriers. In addition to the instance of
 6
     discrimination occurring in August 2023, Plaintiff is entitled to $4,000.00 in statutory
 7
     damages for each additional occurrence of discrimination under California Civil Code
 8
     § 52.
 9
             20.   Any violation of the Americans with Disabilities Act of 1990 (as pled in
10
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
11
     thus independently justifying an award of damages and injunctive relief pursuant to
12
     California law. Per § 51(f), “[a] violation of the right of any individual under the
13
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
14
     section.”
15
             21.   The actions and omissions of Defendant as herein alleged constitute a
16
     denial of access to and use of the described public facilities by physically disabled
17
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
18
     result of Defendant’s action and omissions Defendant has discriminated against
19
     Plaintiff in a violation of Civil Code §§ 51 and 51.
20
                                               VII.
21
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
22
                    DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
23
             22.   Plaintiff incorporates the allegations contained in paragraphs 1 through
24
     21 for this claim and incorporates them herein.
25
             23.   As part of the Americans with Disabilities Act of 1990 (“ADA”),
26
     Congress passed “Title III – Public Accommodations and Services Operated by
27
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
28
     entities” which are considered “public accommodations” for purposes of this title,
                                                 5
                                           COMPLAINT
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 1
     which includes any “restaurant, bar, or other sales or rental establishment serving food
 2
     or drink.” § 301(7)(B).
 3
           24.    The ADA states that “[n]o individual shall be discriminated against on
 4
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
 5
     privileges, advantages, or accommodations of any place of public accommodation by
 6
     any person who owns, leases, or leases to, or operates a place of public
 7
     accommodation.” 42 U.S.C. § 12182.
 8
           25.    The acts and omissions of Defendant set forth herein were in violation of
 9
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
10
     Part 36 et seq.
11
           26.    On information and belief, Plaintiff alleges that the Property was
12
     constructed or altered after January 26, 1993 thus triggering requirements for removal
13
     of barriers to access for disabled persons under § 303 of the ADA. Further on
14
     information and belief, Plaintiff alleges that removal of each of the barriers
15
     complained of by Plaintiff as hereinabove alleged, were at all times herein mentioned
16
     "readily achievable" under the standards §§ 30 l and 302 of the ADA. As noted
17
     hereinabove, removal of each and every one of the architectural barriers complained
18
     of herein were also required under California law. In the event that removal of any
19
     barrier is found to be "not readily achievable," Defendant still violated the ADA, per§
20
     302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
21
     accommodations through alternative methods that were readily achievable.
22
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
23
     Property and as of the filing of this Complaint, the Defendant denies and continues to
24
     deny full and equal access to Plaintiff and to other disabled persons, including
25
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
26
     access and which discriminate against Plaintiff on the basis of his disability, thus
27
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
28
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
                                                  6
                                           COMPLAINT
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 1
     of the ADA. 42 USC§§ 12182 and 12183.
 2
           28.     On information and belief, Defendant has continued to violate the law
 3
     and deny the rights of Plaintiff and other disabled persons to access this public
 4
     accommodation since on or before Plaintiff's encounters, as previously noted.
 5
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
 6
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
 7
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
 8
     in violation of the ADA or has reasonable grounds for believing that he is about to be
 9
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
10
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
11
     make such facilities readily accessible to and usable by individuals with disabilities to
12
     the extent required by this title."
13
           29.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
14
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
15
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
16
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
17
     to discrimination on the basis of disability in violation of Title III and who has
18
     reasonable grounds for believing he will be subjected to such discrimination each time
19
     that he may attempt to use the property and premises.
20
                                              PRAYER
21
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
22
     as follows:
23
        1. Issue a preliminary and permanent injunction directing Defendant as current
24
     owner, operator, lessor, and/or lessee of the property and premises to modify the
25
     above described property and premises and related facilities so that each provides full
26
     and equal access to all persons, including but not limited to persons with physical
27
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
28
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
                                                   7
                                            COMPLAINT
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 1
     situated persons with disabilities, and which provide full and equal access, as required
 2
     by law, including appropriate changes in policy;
 3
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
 4
     that Defendant unlawful policies, practices, acts and omissions, and maintenance of
 5
     inaccessible public facilities as complained of herein no longer occur, and cannot
 6
     recur;
 7
        3. Award to Plaintiff all appropriate damages, including but not limited to
 8
     statutory damages, general damages and treble damages in amounts within the
 9
     jurisdiction of this Court, all according to proof;
10
        4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
11
     costs of this proceeding as provided by law;
12
        5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
13
     329
14
        6. Grant such other and further relief as this Court may deem just and proper.
15

16

17                                        ASCENSION LAW GROUP, PC

18    DATE: September 15, 2023

19                                                    /s/Pamela Tsao

20                                        Pamela Tsao, attorney for Plaintiff

21                                                MICHAEL C. KEO

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                                                  8
                                           COMPLAINT
